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                             United States District Court
                                       for the
                             Southern District of Florida

  Western-Southern LifeAssurance )
  Company, Plaintiff,            )
                                 )
  v.                             ) Civil Action No. 20-24468-Civ-Scola
                                 )
  Elma Grace Pearson and others, )
  Defendants.                    )

        Order Administratively Closing Case upon Notice of Settlement
         The parties have settled this action. (ECF No. 50.) By September 1,
  2021, the Interpleader Defendants must file a stipulation of dismissal, under
  Federal Rule of Civil Procedure 41(a)(1)(A)(ii), or a motion to dismiss, consistent
  with Rule 41(a)(2). The Court will administratively close this case in the
  meantime.
         If the Interpleader Defendants file a stipulation of dismissal under Rule
  41(a)(1)(A)(ii) and the parties wish to have this Court retain jurisdiction to
  enforce any settlement agreement, the stipulation of dismissal must include
  the following sentence: “The effectiveness of this stipulation of dismissal is
  conditioned upon the Court’s entry of an order retaining jurisdiction to enforce
  the terms of the parties’ settlement agreement.” This sentence is necessary
  because a stipulation of dismissal is otherwise self-executing and deprives the
  Court of jurisdiction to do anything further. See Anago Franchising, Inc. v.
  Shaz, LLC, 677 F.3d 1272, 1280 (11th Cir. 2012).
         The Court directs the Clerk to close this case. Any party may move to re-
  open the case if there is a problem in reaching a final settlement agreement.
  Any pending motions are denied as moot.
        Done and ordered in Miami, Florida, on August 4, 2021.

                                              ________________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge
